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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   ------------------------------------X
   BABY DOE, A CITIZEN OF AFGHANISTAN     :
   CURRENTLY RESIDING IN NORTH            :
   CAROLINA, BY AND THROUGH NEXT          :                CIVIL ACTION NO. 3:22-CV-49
   FRIENDS, JOHN AND JANE DOE;AND JOHN :
   AND JANE DOE, CITIZENS OF AFGHANISTAN :
   AND LEGAL GUARDIANS OF BABY DOE,       :
                                          :
        Plaintiffs,                       :
                                          :
   v.                                     :
                                          :
   JOSHUA MAST, STEPHANIE MAST, RICHARD :
   MAST, KIMBERLEY MOTLEY, AND AHMAD :
   OSMANI,                                :
                                          :
        Defendants,                    :
                                        :
   and                                  :
                                        :
   UNITED STATES SECRETARY OF STATE    :
   ANTONY BLINKEN AND UNITED STATES :
   SECRETARY OF DEFENSE GENERAL         :
   LLOYD AUSTIN,                       :
                                       :
        Nominal Defendants.            :

   ------------------------------------X


    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO SEAL
   EXHIBITS 1-5 TO PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD MAST’S
    MOTION AND MEMORANDUM IN SUPORT OF ORDER DIRECTING CLERK TO
         REQUEST INFORMATION HELD BY A VIRGINIA CIRCUIT COURT

          Having considered Plaintiff's Motion, and Memorandum of Law in Support of Motion, to

   Seal Exhibits 1-5 to Plaintiffs’ Opposition to Defendant Richard Mast’s Motion and

   Memorandum in Support of Order Directing Clerk to Request Information Held by a Virginia
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   Circuit Court, pursuant to Local Civil Rule 9, and for good cause shown, and the requirements of

   Local Civil Rule 9(b), and the decisions in Ashcraft v. Conoco, Inc., 218 F.3d 288 (4th Cir.

   2000), In re Knight Publishing Co., 743 F.2d 231 (4th Cir. 1984), and Stone v. Univ. of

   Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, it is hereby ORDERED that Plaintiff's

   Motion is granted. It is further ORDERED that Exhibits 1-5 Plaintiffs’ Opposition to Defendant

   Richard Mast’s Motion and Memorandum in Support of Order Directing Clerk to Request

   Information Held by a Virginia Circuit Court is filed under seal.



           Entered this ___ day of ______________, 2023.



                                                ______________________________
                                                Judge




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